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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

National Railroad Passenger Corporation         *
(AMTRAK)
                                                *
        Plaintiff,
                                                *       CIVIL ACTION NO. 1:22-CV-01043-APM
v.
                                                *
Sublease Interest Obtained Pursuant to an
Assignment and Assumption of Leasehold          *
Interest, et al.
                                                *
        Defendants.
                                                *

*       *        *      *       *       *     *    *   *              *       *       *      *
                                     JOINT STATUS REPORT

        In accordance with the Court’s Order of May 9, 2024, all parties to this proceeding file this

Joint Status Report regarding the status of discovery.

     1. Amtrak’s Discovery:         Upon receiving the Defendants’ request(s) for production of

        documents in July of 2024, Amtrak reviewed documents from thirty custodians (with the

        date restriction of 1/1/2018 to the present), producing more than 180,000 pages of

        materials. Amtrak is preparing a privilege log for Defendants, and will be producing

        additional documents, including documents relating to its expert(s), once designated, in

        accordance with this Court’s Order.

     2. Leaseholders’ Discovery:         On September 16, 2024, Lender and USI (together,

        “Leaseholders”) produced non-privileged documents responsive to Amtrak’s document

        requests, totaling more than 77,000 pages of documents. With the document production,

        Leaseholders provided a privilege log summary. Leaseholders will produce additional

        documents relating to its expert(s), once designated, in accordance with the Court’s Order.

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      Given the extent of document productions and the anticipated number of subpoenas and

      depositions in this case, additional time may be required in the schedules. The parties will

      meet and confer and report back to the Court.

   3. USSM’s Discovery: Counsel for USSM has collected and continues to collect documents

      from USSM for production in response to requests for production received from Amtrak

      and the Lender. USSM offered to have Jones Lang LaSalle, the property manager for

      Union Station, produce documents responsive to these requests from their files as to the

      time period during which USSM and its affiliates controlled the leasehold, provided only

      that the Lender agree to the same arrangement for periods in which it controlled the

      leasehold. Amtrak agreed to this arrangement, which would drastically reduce the expense

      of collection, review, and production for all parties, but the Lender has not responded to

      this offer. Subject to resolution of these issues, USSM expects to complete its production

      of documents before the end of the month. USSM will produce expert disclosures, if any,

      and documents relevant to expert disclosures on the schedule set by the Court.



                                                    Respectfully submitted,

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